8:06-cr-00116-RFR-MDN         Doc # 928     Filed: 11/21/13     Page 1 of 2 - Page ID # 8674




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR116
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                MEMORANDUM
                                               )                 AND ORDER
CHARMAR BROWN,                                 )
                                               )
              Defendant.                       )

       This matter is before the Court on Defendant Charmar Brown’s Motion Requesting the

Court to Reopen United States v. Brown (Filing No. 927) which the Court will construe as a

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody (“§ 2255 motion”).

       The Court had previously issued a Memorandum and Order and Judgment (Filing Nos.

837, 838), denying the Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (Filing No. 800). The Defendant’s

Motion to Alter or Amend the Judgment Pursuant to Federal Rule of Civil Procedure 59(e)

(Filing No. 842) was denied at Filing No. 845.

       Rule 9 of the Rules Governing Section 2255 Proceedings states, in pertinent part, that

“[b]efore presenting a second or successive motion, the moving party must obtain an order

from the appropriate court of appeals authorizing the district court to consider the motion, as

required by 28 U.S.C. § 2255, para. 8.” The Defendant’s successive § 2255 motion is denied

for lack of an order from the Eighth Circuit allowing this Court to consider the motion.
8:06-cr-00116-RFR-MDN     Doc # 928    Filed: 11/21/13   Page 2 of 2 - Page ID # 8675




      IT IS ORDERED:

      1.    The Defendant’s Motion Requesting the Court to Reopen United States v.

            Brown (Filing No. 927) which the Court will construe as a Motion Under 28

            U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

            Federal Custody is denied; and

      2.    The Clerk is directed to mail a copy of this Memorandum and Order to the

            Defendant at his last known address.

      DATED this 21st day of November, 2013.

                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




                                         2
